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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
       v.                                             )       Crim. No. 1:19-cr-148
                                                      )
                                                      )
PRAKAZREL MICHEL,                                     )
LOW TAEK JHO                                          )
                                                      )


      UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S
  MOTION IN LIMINE TO EXCLUDE EVIDENCE, ARGUMENT, OR TESTIMONY
    RELATED TO COMMUNICATIONS WITH GEORGE HIGGINBOTHAM

       The defendant, Prakazarel Michel, is charged with, among other things, serving as an

undisclosed foreign agent for a wealthy Malaysian fugitive, Low Taek Jho (Low). Michel

previously moved to dismiss the Superseding Indictment contesting willfulness by asserting an

advice-of-counsel defense based on his conversations with his then co-conspirator and attorney,

George Higginbotham, who Michel claimed never advised him about the need to register as a

foreign agent under the Foreign Agents Registration Act (FARA), 22 U.S.C. § 611 et seq. Michel

now shifts course and moves to exclude any evidence, argument, or testimony that Higginbotham

did advise Michel regarding FARA, claiming that such advice is privileged. During the pendency

of the investigation, the government’s filter team sought and received judicial authorization for the

investigative team to review communications between Higginbotham and Michel in part because

the crime-fraud exception to the attorney-client privilege applied. The reasons that underpin that

ruling still hold true today, and Michel’s motion should be denied.




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                                       BACKGROUND

       On May 2, 2019, a grand jury in the District of Columbia returned a four–count indictment

charging Michel and Low for a foreign conduit contribution scheme concerning the U.S.

presidential election in 2012. Indictment, ECF No. 1. On June 10, 2021, a grand jury in the

District of Columbia returned a twelve–count superseding indictment that also charged Michel and

Low with executing an undisclosed foreign influence campaign, in violation of FARA and 18

U.S.C. § 951.1 Superseding Indictment, ECF No. 84.

       Relevant to the instant motion, the Superseding Indictment alleges that between

approximately March 2017 and January 2018, Michel entered into a “secret agreement” with Low

in which Low would pay millions of dollars to Michel and others “to lobby the Administration and

DOJ to drop the investigation of LOW for his role in the embezzlement of billions of dollars from

1MDB.” Id. ¶ 99. As part of this scheme, Michel, Low, and others concealed from the U.S.

government that Elliott Broidy, the Deputy Finance Chair of the President’s political party, “was

acting on behalf of LOW.” Id. It is further alleged that Michel and others agreed to “act in the

United States as agents of PRC Minister A,” a foreign government official, “by working to lobby

the Administration and DOJ to arrange for the removal and return of PRC National A—a dissident

of the PRC living in the United States—back to the PRC all at the direction of PRC Minister A

and the PRC government.” Id. ¶ 100.




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  In addition to the original indictment’s four counts and the FARA and § 951 counts, the
Superseding Indictment charges Michel and Low with an additional count of conspiracy to violate
FARA and § 951 and to commit money laundering (Count Seven), and charges Michel alone with
two counts of witness tampering related to the foreign conduit contribution scheme (Counts Five
and Six), and one count of conspiring to make false statements to banks (Count Twelve).


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       One of Michel’s co-conspirators in this scheme was George Higginbotham, an associate of

Michel who was an attorney with the DOJ. Id. ¶ 18. Among the acts he took in furtherance of

their scheme, Higginbotham prepared a purported consulting agreement intended to falsely

characterize Michel’s work for Low, id. ¶ 124; he met with the PRC Ambassador to the United

States, at Michel’s direction, to advise about the ongoing progress involving the extradition of

PRC National A, id. ¶ 145; he traveled with Michel to Macau, China in September 2017, “to meet

with LOW to discuss ways to continue to funnel LOW’s money into the United States to pay those

involved in the lobbying campaigns[,]” id. ¶ 147; and, subsequent to that trip, he controlled a bank

account that, at Michel’s request, received approximately $41 million from Low in October 2017,

id. ¶ 149. Relatedly, Michel is charged in the Superseding Indictment with a conspiracy to make

false statements to banks in which Michel conspired with Higginbotham “to funnel millions of

dollars from foreign bank accounts into United States bank accounts controlled by MICHEL by

misrepresenting to financial institutions the source and purpose of the funds.” Id. ¶ 160. As

alleged, Michel and Higginbotham made misrepresentations to U.S. banks to ensure the transfer

and receipt of monies controlled by Low to fund the undisclosed foreign lobbying campaign. See

id. ¶¶ 158-81.

       On August 21, 2017, the government obtained a search and seizure warrant for the personal

email accounts of Michel and Higginbotham. See In re Redacted Filings in Sealed 17-mj-619,

1:21-sc-03805-BAH (D.D.C.), ECF No. 2, Ex. 1. The government assigned a filter team to review

the materials, who in turn filed an ex parte, in camera motion seeking authorization to review past

and future communications between Higginbotham and Michel and his agents. Id., Ex. G. The

Chief Judge granted the filter team’s motion finding that a prima facie showing had been made

that the crime-fraud exception to the attorney-client privilege applied. Id., Ex. I at 20.



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                                                ARGUMENT

   I.        Any Attorney-Client Privilege between Higginbotham and Michel is Vitiated By
             the Crime-Fraud Exception

        Michel seeks a finding that all communications with Higginbotham regarding Michel’s

“various entertainment and humanitarian endeavors” were privileged, including the allegations in

this case. Def. Mot. to Dismiss, ECF No. 160 at 3. Because Michel recruited Higginbotham to be

a co-conspirator in the charged conduct—conduct to which Higginbotham has pleaded guilty as a

criminal participant in the scheme—the attorney-client privilege is vitiated by the crime-fraud

exception.

        The attorney-client privilege applies to “confidential communication between attorney and

client if that communication was made for the purpose of obtaining or providing legal advice to

the client.” In re Kellogg Brown & Root, Inc., 756 F.3d 754, 757 (D.C. Cir. 2014). The crime-

fraud exception “comes into play when a privileged relationship is used to further a crime, fraud,

or other fundamental misconduct.” In re Sealed Case, 676 F.2d 793, 807 (D.C. Cir. 1982). When

such conduct is at issue, the attorney-client privilege no longer applies. See In re Grand Jury, 475

F. 3d 1299, 1305 (D.C. Cir. 2007) (“Attorney-client communications are not privileged if they ‘are

made in furtherance of a crime, fraud, or other misconduct.’”) (quoting In re Sealed Case, 754

F.2d 395, 399 (D.C. Cir. 1985)). “The privilege for communications between client and attorney

ceases when the purpose of the privilege is abused, when the lawyer becomes either the accomplice

or the unwitting tool in a continuing or planned wrongful act.” United States v. Ballard, 779 F.2d

287, 292 (5th Cir. 1986).

        Two conditions must be met for the crime-fraud exception to apply: “First, the client must

have made or received the otherwise privileged communication with the intent to further an

unlawful or fraudulent act. Second, the client must have carried out the crime or fraud.” In re

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Sealed Case, 107 F.3d 46, 49 (D.C. Cir. 1997) (footnote and citations omitted). “The privilege is

the client’s, and it is the client’s fraudulent or criminal intent that matters.” Id.

        Michel contends that he hired Higginbotham in his role as an attorney and that

Higginbotham acted as a traditional attorney would: drafting contracts; facilitating corporate

entities; and offering legal advice to Michel. ECF No. 160 at 4. As an example of such legal

advice, Michel points to a single instance in the course of Higginbotham’s scheme with Michel—

the advice Higginbotham provided to Michel that they should register under FARA for their

respective activities during the criminal scheme, which Michel refused to do. ECF No. 160 at 5-

6. But Higginbotham did not act as a legitimate attorney to simply provide Michel legal advice

which Michel chose not to follow. Higginbotham was an active participant in the ongoing criminal

scheme and pleaded guilty for his role in the conspiracy. See In re Redacted Filings in Sealed 17-

mj-619, 1:21-sc-03805-BAH, ECF No. 2, Ex. G (Ex Parte, In Camera Crime-Fraud Motion); Id.,

Ex. I (Mem. Op.); United States v. George Higginbotham, 1:18-cr-00343-CKK (D.D.C.), ECF

Nos. 1, 13, 14 (Information, Factual Basis for Plea, and Plea Agreement).

        Among other things, at Michel’s direction, Higginbotham drafted retainer and consulting

agreements designed and intended to conceal Low’s involvement in the influence campaigns and

corresponding financial transactions—the gravamen of the 2017 offenses with which Michel is

charged.    Higginbotham, 1:18-cr-00343-CKK, ECF No. 13 ¶ 5.                   Further, in July 2017,

Higginbotham, at Michel’s direction, went to the Chinese Embassy to deliver a message to the

Chinese Ambassador to evidence the co-conspirators influence efforts: “United States government

officials were working on the matter involving Foreign National 1 and there would be additional

information in the future concerning the logistics of returning Foreign National 1 to Country Q.”

Id. ¶ 7. As tens of millions of dollars poured into accounts associated with Michel at Low’s



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direction, Higginbotham understood that the “purpose of the funds was to pay [Broidy] and others

to lobby United States government officials to (1) resolve the 1MDB matters, and (2) have Foreign

National 1 removed from the United States and sent back to Country Q.” Id. ¶ 8. Between May

and September 2017, “[t]o make the international fund transfers appear legitimate,” Higginbotham

“worked on various fake loan documents, investment agreements, and consulting contracts” all at

Michel’s direction. Id. ¶ 9. In September 2017, Higginbotham traveled to China to meet with

Michel and Low to “discuss[] strategies for secretly funneling more of [Low’s] money into the

United States to further the lobbying campaign, including coming up with cover stories to explain

the movement of money and to conceal the fact that the money was associated with [Low].” Id.

¶ 10. Finally, between September and December 2017, Higginbotham and Michel concealed and

made false statements to banks about the true source and nature of the funds from Low intended

to further the lobbying scheme. Id. ¶¶ 14-17.

       Higginbotham has testified before the grand jury and participated in interviews with the

government about conversations he had with Michel regarding FARA registration during the

course of the scheme. In an interview with the FBI, Higginbotham provided the following

information:

               When HIGGINBOTHAM and MICHEL began discussing the GUO
               matter, HIGGINBOTHAM believed they should consider FARA.
               On more than one occasion, HIGGINBOTHAM recommended
               MICHEL register under FARA. HIGGINBOTHAM believed he
               mentioned FARA to MICHEL before the meeting at the Chinese
               Embassy. MICHEL dismissed HIGGINBOTHAM’S suggestions.
               MICHEL did not want to go through the registration process and
               feared being stopped in airports.

DOJ-105625-26. That meeting occurred on or about July 16, 2017—contemporaneous with, and

during, Michel and Higginbotham’s ongoing criminal scheme. ECF No. 84 ¶ 145.




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         Michel points to a raft of cases to support his argument that a client’s mere consultation

with counsel and later commission of a crime cannot, on its own, vitiate the attorney-client

privilege. See ECF No. 160 at 6-7 (citing In re Sealed Case, 107 F.3d at 48; In re Grand Jury

Subpoena, 745 F.3d 681, 692 (3d Cir. 2014)). But that is not the case here; Higginbotham was an

active participant in an ongoing conspiracy with Michel at the time that he relayed his advice to

register under FARA. Cf. In re Grand Jury Subpoena, 745 F.3d at 691-92 (explaining that the

crime-fraud exception would not apply when “the client was not committing a crime or fraud or

intending to commit a crime or fraud at the time he or she consulted the attorney”). Michel and

Higginbotham, along with their other co-conspirators, chose to persist in their unlawful activity,

knowing of the registration requirement under FARA and willfully failing to register.

         Any attorney-client privilege held between Michel and Higginbotham is vitiated by the

crime-fraud exception. Michel chose to enlist Higginbotham in his conspiracy; Higginbotham

willingly joined; and together they, with others, furthered the goals of foreign principals while

funneling substantial sums into their own pockets. Michel cannot now seek to hide behind the

attorney-client shield after recruiting Higginbotham into his criminal scheme.

   II.      Michel Cannot Seek to Preclude Higginbotham’s Testimony and Simultaneously
            Rely Upon an Advice-of-Counsel Defense

         Notwithstanding Michel’s pending motion, Michel has previewed that he seeks to rely

upon an advice-of-counsel defense at trial. See ECF No. 132 at 3. In particular, Michel moved to

dismiss the Superseding Indictment because he claimed: (1) Higginbotham represented Michel as

an attorney; (2) Higginbotham never mentioned FARA to Michel or advised him to register, nor

did Higginbotham himself register, id. at 4; and (3) Michel, relying on the advice and actions (or

lack thereof) of Higginbotham, could not have willfully violated FARA, id. at 6-7.




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       The Court denied Michel’s motion to dismiss, noting that “[a]n advice-of-counsel defense

is, of course, an affirmative defense.” Omnibus Mem. Op., ECF No. 154 at 15 (citing United

States v. West, 392 F.3d 450, 457 (D.C. Cir. 2004)). And that while a “motion to dismiss [an

indictment] is not the proper way to raise a factual defense,” id. (quoting United States v.

Mosquera-Murillo, 153 F. Supp. 3d 130, 154 (D.D.C. 2015)), “[i]f Defendant intends to pursue an

advice-of-counsel defense at trial, he may raise it an appropriate time, e.g., at the motion in limine

stage.” Id. at 15 n.6.

       Michel’s move to preclude Higginbotham’s testimony is at odds with his prior assertion of

an advice-of-counsel defense and his representations in support of that motion.2 Here, Michel

asserts that he “has not, and will not, waive the privilege.” ECF No. 160 at 2. But Michel has

already taken steps to make such a waiver. In Michel’s motion to dismiss, he put at issue

Higginbotham’s representation of Michel and affirmatively represented the communications he

now seeks to strike. See, e.g., ECF No. 132 at 4 (“Mr. Higginbotham, acting as Mr. Michel’s

attorney never mentioned FARA, did not ask him to review any paperwork or documents, never

made a note to the file and, as would be customary for a lawyer, never sent an email to Mr. Michel

about FARA”).

         “There is no question that the attorney-client privilege is waived when a client asserts

reliance on the advice of counsel as an affirmative defense, because the client has then made a

conscious decision to inject as an issue in the litigation the advice of counsel.” United States v.

Crowder, 325 F. Supp. 3d 131, 137 (D.D.C. 2018) (quoting Intex Recreation Corp. v. Metalast,



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   The government does not concede that Michel has established the proper foundation for an
advice-of-counsel defense at trial. See Mem. Op., ECF No. 154 at 15 n.6; West, 392 F.3d at 457
(“A defendant may avail himself of an advice of counsel defense only where he makes a complete
disclosure to counsel, seeks advice as to the legality of the contemplated action, is advised that the
action is legal, and relies on that advice in good faith.”).
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S.A., No. 1-1213, 2005 WL 5099032, at *3 (D.D.C. Mar. 2, 2005)); see also United States v. White,

887 F.2d 267, 270 (D.C. Cir. 1989) (“Reliance on advice-of-counsel is an affirmative defense”

that “waive[s] the [attorney-client] privilege”). “Accordingly, should defendants decide to raise

an advice-of-counsel defense at trial, any communications or evidence defendants intend to use to

establish the defense are subject to disclosure.” Crowder, 325 F. Supp. 3d at 138.

       Michel cannot have his cake and eat it too; he cannot simultaneously rely upon an advice-

of-counsel defense and seek to exclude the very testimony from Higginbotham that would rebut

his defense.

                                            CONCLUSION

       Michel seeks to exclude evidence, argument, or testimony related to attorney-client

privileged communications with George Higginbotham. Michel and Higginbotham were co-

conspirators in an illegal lobbying scheme that funneled millions of dollars into the United States

while concealing the true source and purpose of those funds. Any privileged communications

between the two in relation to that scheme are subject to the crime-fraud exception, as the prior

crime-fraud order concluded, and the government should accordingly be able to present that

evidence at trial.    Further, Michel cannot rely on an advice-of-counsel defense while

simultaneously seeking to exclude his attorney’s testimony. Michel’s motion should be denied.


                                             Respectfully submitted,

                                                    COREY R. AMUNDSON
                                                    Chief, Public Integrity Section
                                                    Criminal Division
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                                                    By: /s/ Nicole R. Lockhart
                                                       John D. Keller

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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: September 23, 2022                                /s/ Nicole R. Lockhart
                                                         Nicole R. Lockhart




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